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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

 Case No.       CV 16-7733 DMG (ASx)                                                 Date     August 28, 2018

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 Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 KANE TIEN                                                          NOT REPORTED
                 Deputy Clerk                                                        Court Reporter

     Attorneys Present for Plaintiff(s)                                   Attorneys Present for Defendant(s)
              None Present                                                          None Present

 Proceedings: IN CHAMBERS - ORDER RE DEFENDANTS’ MOTIONS TO DISMISS
              [44, 49]

         Plaintiffs, Century of Progress Productions (“CPP”), Christopher Guest, Rob Reiner
 Productions (“RRP”), United Heathen (“UH”), Spinal Tap Productions (“STP”), Harry Shearer,
 Rob Reiner, and Michael McKean, filed the operative second amended complaint (“SAC”) on
 October 19, 2017. [Doc. # 33.] The SAC alleges six causes of action: (1) breach of contract;
 (2) breach of the implied covenant of good faith and fair dealing; (3) fraud by concealment and
 misrepresentation; (4) accounting; (5) declaratory relief as to alleged trademark rights, 28 U.S.C.
 § 2201; and (6) declaratory relief as to alleged copyright reversion, 17 U.S.C § 703. Id. at 1
 (caption).

         Now before the Court are two motions to dismiss. The first, brought by Defendants
 Universal Music Group, Inc. and UMG Recordings, Inc. (collectively, “UMG”), seeks to dismiss
 Plaintiffs’ SAC in its entirety, as alleged against UMG.1 [Doc. # 44 (“UMG MTD”).] The
 second, brought by Defendants Vivendi S.A.’s (“Vivendi”), Studiocanal S.A.S.’ (“Studiocanal”),
 and Ron Halpern (collectively, “Studiocanal Defendants”), seeks dismissal of Plaintiffs’ claim
 for fraud. [Doc. # 49 (“Studiocanal MTD”).] UMG joins in the Studiocanal MTD. See UMG
 MTD at 17 n.8.2




          1
            The UMG parties are newly joined defendants who were not parties to the action until the SAC’s filing.
 Although, like Plaintiffs, they are alleged California citizens and would therefore defeat diversity jurisdiction, this
 Court has subject matter jurisdiction over the action by virtue of Plaintiffs’ causes of action for declaratory relief
 under the federal Copyright Act. See 28 U.S.C. § 1338; SAC at ¶¶ 24–28.
          2
           The Court’s citations to the parties’ moving papers refers to the page numbers assigned by the CM/ECF
 docketing system, not those assigned by the parties.


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                                                    I.
                                          FACTUAL BACKGROUND3

 A.       The Parties and This Is Spinal Tap

         This lawsuit concerns the motion picture This Is Spinal Tap (“TIST”) and the rights of its
 creators and performers. In the late 1970s, Plaintiffs Harry Shearer, Christopher Guest, Rob
 Reiner, and Michael McKean (collectively, “Co-creators”) created characters and wrote several
 songs for a fictional British rock band, Spinal Tap, which first appeared on television in 1979 in
 a skit series called The T.V. Show. See SAC at ¶¶ 6, 38. Co-creators later decided to make a
 full-length motion picture about the band, but they first wrote a 20-minute film “complete with
 fully-realized characters with backstories and musical performances with lyrics, to shop in lieu of
 a script.” Id. at ¶¶ 6, 38. TIST, Co-creators’ eventual motion picture, was filmed as a
 documentary about the fictional British rock band in the middle of an American tour, and it was
 released in 1984. Id. at ¶ 40.

        Co-creators also starred in or directed TIST. Id. at ¶¶ 14–17. Plaintiff CPP is Shearer’s
 loan-out company, Plaintiff RRP is Reiner’s loan-out company, and Plaintiff UH is McKean’s
 loan-out company (collectively, the “Loan-Out Companies”). Id. at ¶ 24, 26–27.4 Plaintiff STP
 is a California corporation that, at all relevant times, was entirely owned by CPP, Guest, RRP,
 and UH. Id. at ¶ 28.

         Guest, CCP, RRP, and UH formed and incorporated STP on May 6, 1982 to turn Co-
 creators’ short film into the feature-length film, TIST. Id. at ¶ 38. Although STP was dissolved
 in or around June 1986, it brings this suit under California Corporations Code section 2010 to
 collect and distribute to its owners all royalties and other monies. Id. at ¶ 28. Guest is STP’s
 president. See id. at ¶ 30.


          3
            The Court accepts all factual allegations in the FAC as true solely to decide the motions to dismiss, except
 where they contradict documents properly subject to the Court’s consideration. For example, the Court also
 considers, under the incorporation by reference doctrine, the agreement underlying this action, which the SAC
 expressly references and upon which it relies. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).
          4
             As explained in the September 28, 2017 Order granting in part and denying in part Vivendi’s,
 Studiocanal’s, and Halpern’s motion to dismiss Plaintiffs’ first amended complaint (“MTD Order”), loan-out
 companies are legally fictitious entities “employed for the financial benefit of successful artists and entertainers . . .
 [that are] typically wholly owned by an artist.” MTD Order at 1 n.2 [Doc. # 32] (quoting Bozzio v. EMI Grp. Ltd.,
 811 F.3d 1144, 1147 (9th Cir. 2016)). Their “sole function” is “to ‘loan out’ the services of the artist-owner to
 producers and other potential employers” while offering “limited personal liability and beneficial tax treatment.” Id.
 (quoting Bozzio, 811 F.3d at 1147).


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          Defendants Studiocanal and UMG are subsidiaries of Defendant Vivendi, a French
 corporation. Id. at ¶¶ 29–30, 32. Defendant Halpern is one of Studiocanal’s executives. Id. at
 ¶ 31. In or around 1989, predecessors of Vivendi’s subsidiaries acquired pertinent TIST rights.
 Id. at ¶ 49.

 B.      The 1982 Agreement

         On May 7, 1982, STP and the Loan-Out Companies entered into a multi-part agreement
 (the “1982 Agreement”) between STP and Embassy Pictures (“Embassy”), an independent
 studio, for the production, financing, and distribution of TIST. SAC at ¶¶ 7, 38, 43; Ex. A to
 Studiocanal Defendants’ February 28, 2017 Motion to Dismiss (“MTD FAC”) at 2–12 (“Letter
 Agreement”) [Doc. # 24-2].5 The 1982 Agreement consists of several documents, including, as
 relevant here, an 11-page letter agreement (“Letter Agreement”) and a single-page Exhibit A to
 the Letter Agreement, both of which are discussed below. Guest, as STP’s president, signed the
 Letter Agreement. SAC at ¶ 44; Letter Agreement at 11.

        Under the Letter Agreement, Co-creators are pre-approved personnel defined as the
 “Screenplay Writers” and “Actors,” and the Agreement provides for their fixed, deferred, and
 contingent compensation and other royalties. SAC at ¶¶ 39, 46–47; Letter Agreement at ¶¶ 2(a),
 4, 6. Additionally, subject to certain terms and conditions, Embassy shall pay to STP 40% of all
 net receipts related to the film; to Co-creators 50% of all gross receipts (after deduction of
 administration costs) from TIST music, a performers’ royalty of 6% of retail price of the TIST
 soundtrack if Co-creators perform on the album, and a producer’s royalty of 3% of the retail
 price of the TIST soundtrack if they are the album’s sole producers. SAC ¶ 47; Letter
 Agreement at ¶¶ 4, 6.

        Exhibit A to the Letter Agreement, entitled “Instrument of Transfer,” provides that STP,
 through Co-creators, assigned to Embassy “the following rights . . . in the feature motion picture
 presently entitled ‘Spinal Tap’”:

         The sole and exclusive right in perpetuity to exhibit, distribute and exploit such
         motion picture and all elements thereof in all media, whether or not now known,
         throughout the universe, including, but not limited to, music and soundtrack
         rights, merchandising rights, video cassette and video disk rights, and theatrical
         sequel, theatrical remake and standard and non-standard television program
         rights.


         5
            Because Exhibit A spans four docket entries [Doc. ## 24-2–24-5], the Court’s citations to this exhibit
 reference the pagination assigned by Studiocanal Defendants, rather than the PDF pagination assigned by CM/ECF.
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 Ex. A to MTD FAC at 20 (“Instrument of Transfer”) [Doc. # 24-2]; SAC at ¶ 8.

        The SAC alleges that Embassy’s rights under this Instrument of Transfer changed hands
 “several times,” most recently to Studiocanal and UMG. SAC at ¶ 9.

 C.      Accounting Under the 1982 Agreement

         In or around 1989, predecessors of Vivendi’s subsidiaries acquired “pertinent TIST
 rights,” and Vivendi became responsible for accounting under the Letter Agreement as a
 consequence. Id. at ¶¶ 49–50. Specifically, Plaintiffs allege that Vivendi’s subsidiary,
 Studiocanal, administers and has a duty to account for revenue streams associated with the film,
 television, video, and merchandising rights to TIST, while another Vivendi subsidiary, UMG,
 administers and has a duty to account for revenue streams associated with the sound recording
 rights. Id. at ¶¶ 53, 72. According to Plaintiffs, UMG has “an obligation to report and pay
 [Studioc]anal, which in turn has an obligation to report and pay Plaintiffs” in connection with the
 TIST revenue streams, including sound recordings an music publishing. Id. at ¶ 51.

         STP allegedly received “[s]ome” profit participation statements. Id. at ¶ 50. Plaintiffs
 recently discovered errors in the statements, and they allege that the statements reflect the
 fraudulent practices engaged in by Defendants. See id. at ¶¶ 51, 52–54. Vivendi, Studiocanal,
 and UMG allegedly defrauded Plaintiffs by

         engaging in anti-competitive and unfair self-dealing between Vivendi
         subsidiaries; cross-collateralizing unsuccessful films bundled with TIST in their
         accounting; failing to remit accounting statements; failing to respond to inquiries
         and information requests; failing to keep accurate records; failing to include
         revenues in accounting statements; claiming undocumented and false
         expenses . . . ; and failing to diligently exploit available revenue streams.

 Id. at ¶ 65; see also id. at ¶¶ 54, 86, 88 (providing substantive examples of alleged fraudulent
 accounting practices and misrepresentations).

          In November 2013, a CPP-commissioned study showed that Defendants engaged in
 “willful misconduct” and intentionally concealed material facts in the accounting statements
 provided to Plaintiffs in order to deceive and prevent them from discovering such practices. Id.
 at ¶ 52.




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 D.      Plaintiffs Serve Copyright Termination Notices

        After initiating suit in October 2016, Plaintiffs exercised their rights under section 203 of
 the Copyright Act to issue copyright termination notices to recapture all copyrights to the
 characters, sound recordings, and musical compositions that appeared in TIST. Id. at ¶¶ 2, 114;
 Exs. 6–9 to SAC [Doc. # 33-6–33-9]. Plaintiffs served the termination notices on Studiocanal
 and UMG, and recorded them in the U.S. Copyright Office. SAC at ¶ 114. Those served on
 Studiocanal concern the TIST motion picture and musical composition copyrights, whereas those
 served on UMG concern the sound recording copyrights. See Ex. 6 to SAC at 2–7.

         After receiving Plaintiffs’ termination notices, Vivendi and Studiocanal threatened to file
 a counterclaim for declaratory relief to “confirm that Mr. Shearer has no termination rights”
 because the TIST works are “works for hire.” Defs’ February 28, 2017 Mot. to Dismiss at 9
 [Doc. # 24]; SAC at ¶ 3. Plaintiffs dispute the “works for hire” argument, and the SAC alleges a
 cause of action for declaratory relief in connection with the validity of Plaintiffs’ termination
 notices. See SAC at ¶¶ 10–13, 109–17.

 E.      Alleged Damages

         CCP and Shearer learned of Defendants’ misconduct in November 2013, and remaining
 Plaintiffs learned of such conduct only after this suit’s initial filing in October 2016. Id. at ¶57.

         Plaintiffs contend that Defendants’ fraudulent conduct has caused distinct harm, separate
 and in addition to that which Defendants’ contractual misconduct created, such as “the out-of-
 pocket expenses incurred to commission the 2013 [CPP] study to discover Defendants’ fraud[]
 [and] the lost time-value of money and interest on the monies wrongfully withheld from
 Plaintiffs.” Id. at ¶ 92. Had Defendants disclosed the aforementioned concealed material facts,
 Plaintiffs would have shifted, or attempted to shift, control of the exploitation, recovery, and
 enforcement of TIST assets, including its intellectual property, away from Vivendi many years
 ago. Id. at ¶ 91. Plaintiffs also contend that the alleged fraudulent accounting practices have
 resulted in a negative balance on the profit participation statements, such that Defendants insist
 Plaintiffs owe them money in connection with TIST royalties. See id. at ¶ 22.

                                              II.
                                       LEGAL STANDARD

        The Court set forth the applicable standard for motions to dismiss in its prior order and
 need not repeat it here. MTD Order at 5 [Doc. # 32].



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                                                     III.
                                                 DISCUSSION

         UMG moves to dismiss each of Plaintiffs’ alleged claims except for that seeking
 declaratory relief in connection with their trademark rights. UMG contends that Plaintiffs fail to
 state a claim for breach of contract, breach of the implied covenant of good faith and fair dealing,
 and accounting because there is no contractual relationship between Plaintiffs and UMG. UMG
 and Studiocanal seek dismissal of the cause of action for fraud based on Plaintiffs’ purported
 failure to plead sufficient facts. Finally, UMG argues the declaratory relief claim related to
 copyright reversion is not a ripe controversy. The Court first considers Plaintiffs’ causes of
 action for breach and accounting.

 A.      Causes of Action for Breach and Accounting (Against UMG)

        UMG argues that Plaintiffs cannot allege any claim for breach or for an accounting in
 connection with the 1982 Agreement because UMG is not a party to that agreement, nor is it a
 successor-in-interest to Embassy. Rather, says UMG, Studiocanal is the admitted successor to
 Embassy’s rights and obligations under the 1982 Agreement and therefore the sole party
 responsible for the obligations owed under that contract. See Ex. 6 to SAC (“Termination
 Notices”) at 6 [Doc. # 33-6] (listing Studiocanal “as successor-in-interest to Embassy” and UMG
 “as successor-in-interest to PolyGram Records,” a party unmentioned anywhere in the operative
 complaint). Plaintiffs respond that they have sufficiently alleged a contractual relationship.

         1.       Sufficiency of the Pleadings

         The SAC contains the following relevant allegations: (1) Embassy’s rights in Co-
 creators’ copyrights under the 1982 Agreement “changed hands,” eventually to UMG; (2) UMG
 is a Vivendi subsidiary, and it accordingly acquired “pertinent” TIST rights; (3) UMG, “through
 [its] predecessor-in-interest Embassy, entered into” the 1982 Agreement and is obligated to
 provide accounting services related to UMG soundtrack music rights thereunder; (4) UMG “has
 an obligation to report and pay [sound recording revenue streams arising from TIST] [to]
 [Studioc]anal, which in turn has an obligation to report and pay Plaintiffs;” and (5) UMG is a
 “successor[]-in-interest to Embassy’s rights” under the 1982 Agreement. SAC ¶¶ 9, 21, 32 49,
 51, 53, 72, 113.6 Although the SAC clearly pleads that UMG is a successor or assignee of
 Embassy’s rights and obligations, it does not necessarily follow that UMG will be liable under
 the 1982 Agreement.
         6
            UMG also argues that the SAC’s allegations directly contradict Plaintiffs’ contention that UMG is bound
 by the Letter Agreement because the complaint alleges that “Vivendi,” not UMG, “is Embassy’s successor-in-
 interest.” UMG MTD at 14 (quoting SAC at ¶ 48). Plaintiffs define the term “Vivendi,” however, to include
 “Vivendi and its subsidiaries, including . . . [UMG].” SAC at ¶ 21.
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         In California, the “general rule” of successor liability is that

         a corporation purchasing the principal assets of another corporation . . . does not
         assume the seller’s liabilities unless (1) there is an express or implied agreement
         of assumption, (2) the transaction amounts to a consolidation or merger of the two
         corporations, (3) the purchasing corporation is a mere continuation of the seller,
         or (4) the transfer of assets to the purchaser is for the fraudulent purpose of
         escaping liability for the seller’s debts.

 Daniels v. Select Portfolio Serv., Inc., 246 Cal. App. 4th 1150, 1170 (2016) (alteration in
 original) (quoting Ray v. Alad Corp., 19 Cal. 3d 22, 28 (1977)). Similarly, the “general rule” for
 assignee liability under California law is that “the mere assignment of rights under an executory
 contract does not cast upon the assignee the obligations imposed by the contract upon the
 assignor.” Id. (quoting Enter. Leasing Corp. v. Shugart Corp., 231 Cal. App. 3d 737, 745
 (1991)). “In order for an assignment to obligate the assignee on a contract, there must be either
 an express assumption of the contract or an acceptance of the benefits of the contract (from
 which an assumption of the burdens is presumed).” Wilson’s Heating & Air Conditioning v.
 Wells Fargo Bank, 202 Cal. App. 3d 1326, 1334 (1988); see also Cal. Civ. Code § 1589 (“A
 voluntary acceptance of the benefit of a transaction is equivalent to a consent to all the
 obligations arising from it, so far as the facts are known, or ought to be known, to the person
 accepting.”).

       Thus, absent these well-delineated exceptions, UMG, as a successor-in-interest to
 Embassy or assignee of Embassy’s rights and obligations, is not liable under the 1982
 Agreement. As explained below, Plaintiffs have not sufficiently alleged any of these exceptions.

          The SAC nowhere alleges the existence of an express or implied agreement involving
 UMG that gives rise to UMG’s assumption of Embassy’s obligations, under either a successor or
 an assignee theory. Instead, Plaintiffs allege in a conclusory fashion that UMG has assumed
 such rights and obligations. See Gerritsen v. Warner Bros Entm’t Inc. (“Gerritsen II”), 116 F.
 Supp. 3d 1104, 1127 (C.D. Cal. 2015) (plaintiff “must not only plead the existence of an
 assumption of liability but either the terms of that assumption of liability (if express) or the
 factual circumstances giving rise to an assumption of liability (if implied)” to establish successor
 liability under an assumption theory (quoting No Cost Conference, Inc. v. Windstream
 Commc’ns, Inc., 940 F. Supp. 2d 1285, 1300 (S.D. Cal. 2013))). Nor do Plaintiffs allege any
 mergers, effective or actual, or any fraudulent asset transfers with respect to UMG and Embassy
 or any of Embassy’s successors. See SAC at ¶¶ 68, 102 (allegations of merger with respect to
 StudioCanal); Ex. 2 to SAC (USPTO form and other papers reference merger between “Canal +
 D.A.” and “Studiocanal Image”).


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          The SAC also lacks any allegations that UMG, as successor-in-interest, is a “mere
 continuation” of Embassy. See Gerritsen II, 116 F. Supp. 3d at 1133 (“[T]o prevail on [a ‘mere
 continuation’] theory, plaintiff [must] demonstrate [that] ‘(1) no adequate consideration was
 given for the predecessor corporation’s assets and made available for meeting the claims of its
 unsecured creditors; [and that] (2) one or more persons were officers, directors, or stockholders
 of both corporations.’” (quoting CenterPoint Energy, Inc. v. Superior Court, 157 Cal. App. 4th
 1101, 1120 (2007))). Plaintiffs allege that Vivendi and its subsidiaries, including UMG, have the
 same interests and have abused the corporate form, and that Vivendi “exercises direct control”
 over its subsidiaries, but these allegations are insufficient to bind UMG to Embassy’s 1982
 Agreement obligations under a successor theory, particularly where Studiocanal—not Vivendi—
 is Embassy’s successor-in-interest. SAC at ¶¶ 64–66. Insofar as Plaintiffs intended to allege
 liability under an alter ego theory, “[c]onclusory allegations of ‘alter ego’ status are insufficient
 to state a claim.” Gerritsen II, 116 F. Supp. 3d at 1136. In any event, it is not clear that alter ego
 is a “viable theory upon which to seek relief from” UMG for the reasons stated in Gerritsen II.
 See id. at 1135 n.194.

         The SAC alleges in one paragraph that UMG “has an obligation to report and pay
 [Studioc]anal, which in turn has an obligation to report and pay Plaintiffs,” which suggests third-
 party-beneficiary status. SAC at ¶ 51. Yet, “it is not enough that the third party would
 incidentally have benefited from performance,” and the SAC does not allege even the existence
 of a third-party-beneficiary contract. Spinks v. Equity Residential Briarwood Apartments, 171
 Cal. App. 4th 1004, 1021 (2009); see also Cal. Civ. Code § 1559 (“A contract, made expressly
 for the benefit of a third person, may be enforced by him at any time before the parties thereto
 rescind it.” (emphasis added)); H.N. & Frances C. Berger Found. V. Perez, 218 Cal. App. 4th
 37, 43 (2013) (“Because third party beneficiary status is a matter of contract interpretation, a
 person seeking to enforce a contract as a third party beneficiary ‘must plead a contract which was
 made expressly for his [or her] benefit and one in which it clearly appears that he [or she] was a
 beneficiary.’” (quoting Schauer v. Mandarin Gems of Cal, Inc., 125 Cal. App. 4th 949, 957
 (2005))).

         Although the Opposition introduces new facts in support of Plaintiffs’ claims for breach
 and accounting, the SAC is the operative pleading, and the allegations therein fail to give rise to
 either claim. See Gerritsen v. Warner Bros. Entm’t Inc. (“Gerritsen I”), 112 F. Supp. 3d 1011,
 1033 n.93 (C.D. Cal. 2015) (“In deciding a motion to dismiss, courts may not ‘take into account
 additional facts asserted in a memorandum opposing the motion to dismiss, because such
 memoranda do not constitute pleadings under [Federal] Rule [of Civil Procedure] 7(a).’”
 (quoting In re Turbodyne Techs., Inc. Sec. Litig., No. CV 99-00697 MMM (BQRx), 2000 WL
 33961193, at *10 (C.D. Cal. Mar. 15, 2000))); see also Guz v. Bechtel Nat’l Inc., 24 Cal. 4th
 317, 349 (2000) (“The covenant of good faith and fair dealing, implied by law in every contract,
 exists merely to prevent one contracting party from unfairly frustrating the other party’s right to

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 receive the benefits of the agreement actually made. The covenant thus cannot ‘be endowed with
 an existence independent of its contractual underpinnings.’” (quoting Waller v. Truck Ins.
 Exchange, Inc., 11 Cal. 4th 1, 36 (1995))); Jolley v. Chase Home Fin., LLC, 213 Cal. App. 4th
 872, 910 (2013) (“A cause of action for an accounting requires a showing that a relationship
 exists between the plaintiff and defendant that requires an accounting . . . .” (quoting Teselle v.
 McLoughlin, 173 Cal. App. 4th 156, 179 (2009))).

        The Court therefore GRANTS the UMG MTD with respect to the causes of action for
 breach of contract, breach of the implied covenant of good faith and fair dealing, and accounting.

          2.       Leave to Amend

        To determine whether leave to amend should be granted, the Court next considers, to the
 extent possible, the Opposition’s three theories of UMG’s liability under the 1982 Agreement,
 which are completely absent from the SAC. First, the Court addresses Plaintiffs’ argument about
 a merger between UMG and non-party MCA Records, Inc. (“MCA”).

                   a.       UMG–MCA Merger

        Plaintiffs point to the 1999 merger of UMG and MCA, which purportedly gave rise to
 UMG’s obligations under an agreement between MCA and Pairapance Communications, Inc.
 (which also binds McKean, Guest, and Shearer). Opp’n at 23–24 & n.4 [Doc. # 51]; see Ex. B to
 Humphreys Decl. (“MCA Agreement”) [Doc. # 51-3]; Ex. C to Humphreys Decl. [Doc. # 51-4]
 (UMG–MCA merger documents). The MCA Agreement and subsequent UMG–MCA merger
 may impose upon UMG certain obligations under that contract, but such obligations (and any
 potential liability for breach thereof) appear independent of those resulting from the 1982
 Agreement, even though the MCA Agreement concerns the Spinal Tap band. See MCA
 Agreement.

         Despite this, the Court cannot say conclusively that leave to amend would be futile
 because all of the relevant facts are unknown to the Court at this time. Accordingly, the Court
 will grant Plaintiffs leave to file an amended pleading that alleges UMG’s obligations under the
 MCA Agreement insofar as those obligations are relevant to the 1982 Agreement.7


          7
            Although the Court will grant leave to amend in connection with this theory, the Court cautions Plaintiffs
 to exercise care. It is not clear that any cause of action for breach brought by Plaintiffs against UMG in connection
 with the MCA Agreement should be heard in this Court given Plaintiffs’ and UMG’s California citizenship, the state
 law nature of the claim, and the apparently distinct facts that give rise to the copyright reversion claim versus breach
 of the MCA Agreement. See 28 U.S.C. § 1367(a) (supplemental jurisdiction appropriate where the state and federal
 claims “form part of the same case or controversy”); United Mine Workers of Am. V. Gibbs, 383 U.S. 715, 725
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                   b.       UMG–Polygram Agreement

          Plaintiffs next contend that an agreement between Embassy and Polygram Records
  (“Polygram”), UMG’s predecessor-in-interest,8 imposes upon UMG the contractual obligation to
  collect and report to Embassy (now Studiocanal) the sound recording revenues associated with
  TIST (the “Polygram Agreement”), so that Studiocanal can comply with its accounting
  obligations under the 1982 Agreement. Thus, say Plaintiffs, UMG accepted benefits of the 1982
  Agreement, including ownership of the TIST sound recording copyrights, and therefore is
  required by law to accept the obligations thereunder. Opp’n at 24; see Cal. Civ. Code § 1589.

          Plaintiffs do not allege this theory anywhere in the SAC, and neither side has presented
  the Polygram Agreement to the Court in support of their Opposition or Reply despite their briefs’
  argument over the agreement’s relevance. Thus, the Court cannot determine, for the purpose of
  deciding whether to grant leave to amend, whether UMG assumed any obligations under the
  1982 Agreement by virtue of the Polygram Agreement. See Recorded Picture Co. v. Nelson
  Entm’t, Inc., 53 Cal. App. 4th 350, 362 (1997) (“[W]hether there has been an assumption of the
  obligations is to be determined by the intent of the parties as indicated by their acts, the subject
  matter of the contract or their words.” (alteration in original) (quoting Shugart, 231 Cal. App. 3d
  at 745)).

          Additionally, it is not clear that the Polygram Agreement can support Plaintiffs’ breach
  claims in connection with the 1982 Agreement under an assignment theory. For section 1589 to
  apply and burden the assignee with the contract’s obligations, the assignee must have accepted
  “all the benefits of a full performance.” Id. (quoting Fruitvale Canning Co. v. Cotton, 115 Cal.
  App. 2d 622, 626 (1953)). According to the Opposition, UMG (through Polygram) received
  ownership of only the sound recording copyrights, while, according to the SAC, Studiocanal
  (through Embassy) has retained ownership of the remaining copyrights associated with the film.
  If this is the case, UMG is not an assignee of the 1982 Agreement, and it did not accept or
  receive all of the 1982 Agreement’s benefits. See id. at 362–63 (where sub-distributor, under a
  separate contract with distributor, received only partial benefits of producer–distributor contract,
  sub-distributor was a licensee and not an assignee and section 1589 did not apply to burden sub-
  distributor with distributor’s contractual obligations); see also id. at 363 (“We decline to adopt
  the rule proposed by the [plaintiff] producers—that a company must comply with a contract to
  which it is not a party if it has accepted even a portion of the benefits of that contract through a


  (1966) (“The state and federal claims must derive from a common nucleus of operative fact.”); Brady v. Brown, 51
  F.3d 810, 816 (9th Cir. 1995) (same).
          8
              Neither side explains how UMG is the successor-in-interest to Polygram, but both sides seem to agree on
  this fact. See, e.g., UMG MTD at 10; Opp’n at 23–24; UMG Reply at 5.
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  subsequent, separate agreement with one of the original contracting parties. Such a rule would
  lead to absurd consequences.”).

         The Court recognizes nonetheless that because the SAC does not allege the circumstances
  of the Polygram Agreement, such as Polygram’s knowledge of the 1982 Agreement or that
  agreement’s terms, amendment to pursue an assignee theory of liability may not be futile. See In
  re Pajaro Dunes Rental Agency, Inc., No. 97CV2516, 2001 WL 1743285, at *8 (N.D. Cal. Nov.
  1, 2001), aff’d sub nom. Pajaro Dunes Rental Agency, Inc. v. Pajaro Dunes Ass’n, 73 F. App’x
  953 (9th Cir. 2003) (section 1589’s rule applied even though the alleged assignee, Pajaro Dunes
  Rental Agency, did not obtain all benefits under the original contract).

                c.      Third-Party Beneficiary

          Finally, Plaintiffs argue in opposition that UMG is liable to Plaintiffs as third-party
  beneficiaries of the Polygram Agreement. As explained above, however, Plaintiffs do not allege
  the existence of a third-party agreement, between UMG and Polygram or otherwise. Absent
  allegations about the Polygram Agreement or other facts surrounding that agreement, the Court
  cannot determine UMG’s potential liability under such a theory.

          In light of Plaintiffs’ argument that the Polygram Agreement requires UMG to collect
  and report to Studiocanal the TIST sound recording revenues so that Studiocanal may provide
  the required accounting to Plaintiffs, amending the complaint does not appear futile. The Court
  therefore GRANTS Plaintiffs leave to amend to cure the deficiencies identified in this Order
  with respect to Plaintiffs’ breach and accounting claims against UMG, if possible.

  B.      Cause of Action for Fraud (Against UMG and Studiocanal Defendants)

         Studiocanal and UMG seek dismissal of the cause of action for fraud in its entirety based
  on the economic loss rule. UMG also moves to dismiss the cause of action for fraud on two
  additional grounds: (1) the SAC contains no allegations that UMG made knowingly false
  representations or concealed material fact by UMG; and (2) there are insufficient facts for the
  Court to reasonably infer that Studiocanal employees acted as agents of UMG.

          Because both sets of moving defendants argue that the economic loss rule applies to bar
  Plaintiffs’ alleged fraud claim, the Court considers this ground for dismissal first. Then, if
  necessary, the Court considers the sufficiency of Plaintiffs’ allegations of fraud.




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          1.     Economic Loss Rule

          Defendants assert that the economic loss rule bars Plaintiffs’ cause of action for fraud
  because the alleged claim “arises from defendants’ performance (or lack thereof) under the
  [1982] Agreement and nothing more,” and because “[P]laintiffs have not alleged exposure to
  personal injuries” or “the breach of a duty distinct from the [1982 Agreement] or a harm distinct
  from the damages that flow from a breach” thereof. Studiocanal MTD at 3; Studiocanal Reply at
  1. Plaintiffs counter that the intentional tort and special relationship exceptions to the economic
  loss rule apply and that policy concerns weigh in favor of permitting the breach and tort claims
  to proceed simultaneously. First, the Court provides background on the economic loss rule.
  Then it considers the proper application of the exceptions raised by Plaintiffs. Ultimately, the
  Court concludes that the economic loss rule does not apply to bar, as a matter of law, Plaintiff’s
  cause of action for fraud.

                 a.      Economic Loss Rule and Its Exceptions

          “[T]he economic loss doctrine is designed to maintain a distinction between damage
  remedies for breach of contract and for tort.” Giles v. Gen. Motors Acceptance Corp., 494 F.3d
  865, 873 (9th Cir. 2007); see also Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 988
  (2004) (economic loss rule “prevents the law of contract and the law of tort from dissolving one
  into the other”). Under the rule, “[a] person may not ordinarily recover in tort for the breach of
  duties that merely restate contractual obligations. Instead, ‘[c]ourts will generally enforce the
  breach of a contractual promise through contract law, except when the actions that constitute the
  breach violate a social policy that merits the imposition of tort remedies.’” Aas v. Superior
  Court, 24 Cal. 4th 627, 643 (2000) (second alteration in original) (quoting Erlich v. Menezes, 21
  Cal. 4th 543, 552 (1999)), superseded by statute on other grounds as stated in McMillin Albany
  LLC v. Superior Court, 4 Cal. 5th 241 (2018).

           As many courts have observed, “the economic loss rule is easy to state, [but] the rule’s
  application and exceptions are more conceptually difficult,” particularly “[w]hen applied in cases
  outside the product liability context.” Giles, 494 F.3d at 874; United Guar. Mortg. Indem. Co. v.
  Countrywide Fin. Corp., 660 F. Supp. 2d 1163, 1180 (C.D. Cal. 2009). Outside of the product
  liability context, “California’s economic loss rule has a . . . category of exceptions for breach of a
  noncontractual duty” that “require the breach of a tort duty apart from the duty not to act
  negligently.” United Guaranty, 660 F. Supp. 2d at 1181; see also Applied Equipment Corp. v.
  Litton Saudi Arabai Ltd., 7 Cal. 4th 503, 515 (1994) (“The law imposes the obligation that ‘every
  person is bound without contract to abstain from injuring the person or property of another, or
  infringing upon any of his rights.’ This duty is independent of the contract.” (quoting Cal. Civ.
  Code § 1708; Jones v. Kelly, 208 Cal. 21, 255 (1929))). The economic loss rule exceptions arise,
  as relevant here, where the alleged misconduct “breaches a duty imposed by some types of

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  ‘special’ or ‘confidential’ relationships” or “breaches a ‘duty’ not to commit certain intentional
  torts.” United Guaranty, 660 F. Supp. 2d at 1181.

          In addition to the independent duty requirement, the economic loss rule “requires a
  purchaser to recover in contract for purely economic loss due to disappointed expectations,
  unless he can demonstrate harm above and beyond a broken contractual promise.” Robinson
  Helicopter, 34 Cal. 4th at 988; see also Giles, 494 F.3d at 876–77 (“Where [tort claims beyond
  negligence and strict liability] have been barred, they have usually amounted to nothing more
  than a failure to perform a promise contained in a contract. In such cases, the plaintiff has been
  held to be entitled only to ordinary contract damages. For example, if the tort alleged is
  intentional or fraudulent misrepresentation by a seller to a buyer, but the misrepresentation only
  goes to the quality or quantity of the goods promised in the contract, some courts limit the buyer
  to contract remedies[.]” (collecting cases)).

          The foreseeability of the alleged harm and the parties’ reasonable contractual
  expectations are essential to that inquiry. See Erlich, 21 Cal. 4th at 550 (“Contract damages are
  generally limited to those within the contemplation of the parties when the contract was entered
  into or at least reasonably foreseeable by them at that time. . . . In contrast, tort damages are
  awarded to [fully] compensate the victim for [all] injury suffered.” (emphasis added) (second and
  third alterations in original) (quoting Applied Equipment, 7 Cal. 4th at 515, 516)). As the
  California Supreme Court explained most recently in Robinson Helicopter,

              A breach of contract remedy assumes that the parties to a contract can
          negotiate the risk of loss occasioned by a breach. “‘[W]hen two parties make a
          contract, they agree upon the rules and regulations which will govern their
          relationship; the risks inherent in the agreement and the likelihood of its breach.
          The parties to the contract in essence create a mini-universe for themselves, in
          which each voluntarily chooses his contracting partner, each trusts the other’s
          willingness to keep his word and honor his commitments, and in which they
          define their respective obligations, rewards and risks. Under such a scenario, it is
          appropriate to enforce only such obligations as each party voluntarily assumed,
          and to give him only such benefits as he expected to receive; this is the function
          of contract law.’” However, “[a] party to a contract cannot rationally calculate
          the possibility that the other party will deliberately misrepresent terms critical to
          that contract.” No rational party would enter into a contract anticipating that they
          are or will be lied to.

  34 Cal. 4th at 992–93 (quoting Applied Equipment, 7 Cal.4th at 517; Tourek et al., Bucking the
  “Trend”: The Uniform Commercial Code, the Economic Loss Doctrine, and Common Law
  Causes of Action for Fraud and Misrepresentation, 84 Iowa L.Rev. 875, 894 (1999)).

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          Accordingly, while the Court must take care not to “open the door to tort claims in
  virtually every case in which a party promised to make payments under a contract but failed to
  do so,” the Court also must consider whether the “damages the plaintiff seeks are” in fact “the
  same economic losses arising from the alleged breach of contract.” Foster Poulty Farms v.
  Alkar-Rapidpak-MP Equipment, Inc., 868 F. Supp. 2d 983, 991–92 (E.D. Cal. 2012) (quoting
  Multifamily Captive Grp., LLC v. Assurance Risk Managers, Inc., 629 F. Supp. 2d 1135, 1146
  (E.D. Cal. 2009)); see also Robinson Helicopter, 34 Cal. 4th at 993 (noting that the higher
  pleading standard for fraud helps guard against “open[ing] the floodgates” to tort litigation based
  on contractual breach).

        The Court turns next to the exceptions advanced by Plaintiffs to determine whether the
  economic loss rule should apply to bar the cause of action for fraud.

                 b.     Application of the Intentional Tort Exception

         First, the Court considers the intentional tort exception.      In Erlich v. Menezes, the
  California Supreme Court explained as follows:

          [O]utside the insurance context, “a tortious breach of contract . . . may be found
          when (1) the breach is accompanied by a traditional common law tort, such as
          fraud or conversion; (2) the means used to breach the contract are tortious,
          involving deceit or undue coercion; or (3) one party intentionally breaches the
          contract intending or knowing that such a breach will cause severe, unmitigable
          harm in the form of mental anguish, personal hardship, or substantial
          consequential damages.”

  21 Cal. 4th at 553–54 (second alteration in original) (quoting Freeman & Mills, Inc. v. Belcher
  Oil Co., 11 Cal. 4th 85, 105 (1995)); see also Robinson Helicopter, 34 Cal. 4th at 991 n.7 (“The
  economic loss rule is designed to limit liability in commercial activities that negligently or
  inadvertently go awry, not to reward malefactors who affirmatively misrepresent . . . .”
  (emphasis added)); Harris v. Atlantic Richfield Co., 14 Cal. App. 4th 70, 78 (1993) (“When one
  party commits a fraud during the contract formation or performance, the injured party may
  recover in contract and tort.”).

          In Erlich, the Court disallowed the recovery of tort damages for defendant’s negligent
  breach of contract—the contractor defendant’s “ineptitude” resulted in substantial water damage
  to the “dreamhouse” he built for plaintiffs—because a “negligent breach of a contract . . . is not
  sufficient to support tortious damages for violation of an independent tort duty.” Erlich, 21 Cal.
  4th at 548, 553, 554. In reaching that conclusion, the Court made clear, however, that a tort
  claim may proceed alongside a breach claim. See id. at 551 (“[T]he same wrongful act may

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  constitute both a breach of contract and an invasion of an interest protected by the law of torts.”
  (quoting N. Am. Chem. Co., 59 Cal. App. 4th at 774)), 553 (“Focusing on intentional conduct
  gives substance to the proposition that a breach of contract is tortious only when some
  independent duty arising from tort law is violated.”).

          Following Erlich, the California Supreme Court in Robinson Helicopter declined to apply
  the economic loss rule where the defendant’s alleged fraud was separate from its breach, even
  though both arose in the context of a contractual arrangement. Although the Robinson
  Helicopter holding was narrow and limited, in part, to circumstances not at issue in this case,9
  the decision provides a helpful articulation of the distinction between breach of contract and
  breach of an independent, noncontractual duty. Its explanation of the contours of the economic
  loss rule and its exceptions, like Erlich’s before it, therefore offers guidance for the doctrine’s
  application in this case.

          Here, Plaintiffs base many of the fraud allegations on conduct that goes above and
  beyond the 1982 Agreement’s obligations even though the events giving rise to the cause of
  action occurred in the context of the alleged contractual relationship between the parties. See id.
  at 989 (“[A] party’s contractual obligation may create a legal duty and . . . a breach of that duty
  may support a tort action.” (citing Erlich, 21 Cal. 4th at 551)). For example, Defendants
  allegedly breached the 1982 Agreement by failing to provide the required accounting statements
  and to remit all royalties owed, but they also allegedly engaged in separate nefarious accounting
  practices to conceal and underreport (and therefore underpay) TIST profits, such as bundling
  unsuccessful films and music rights with TIST in the Embassy catalogue, misrepresenting and
  manufacturing false expense deductions, self-dealing between subsidiaries, and lying about the
  recovery of a $1.6 million settlement. SAC at ¶ 86; see also id. at ¶¶ 49–54 (describing improper
  bundling and accounting practices with examples).

         This alleged misconduct amounts to more than mere false assurances that Defendants
  were complying with the 1982 Agreement. See, e.g., Antonick v. Elec. Arts Inc., No. C 11-1543
  CRB, 2014 WL 245018, at *14 (N.D. Cal. Jan. 22, 2014) (breach of agreement accompanied by

           9
             First, after explaining the economic loss rule and its application to the facts at bar, the Court announced its
  holding. See Robinson Helicopter, 34 Cal. 4th at 991 (“We hold the economic loss rule does not bar [plaintiff]’s
  fraud and intentional misrepresentation claims because they were independent of [defendant]’s breach of contract.”
  (citing Erlich, 21 Cal. 4th at 552–54)). Then, after discussing the policy implications of the decision, the Court
  qualified its holding. Id. at 993 (“Our holding today is narrow in scope and limited to a defendant’s affirmative
  misrepresentations on which a plaintiff relies and which expose a plaintiff to liability for personal damages
  independent of the plaintiff’s economic loss.”). Several courts have opined that the decision may not be applicable
  outside of the products liability or contracts-for-goods context. See, e.g., JMP Sec. LLP v. Altair NAnotechs. Inc.,
  880 F. Supp. 2d 1029, 1043 (N.D. Cal. 2012); United Guaranty, 660 F. Supp. 2d at 1183. As made clear in this
  Order, the Court does not premise the instant decision not to apply the economic loss rule on Robinson Helicopter
  alone.
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  representations that defendant is not in breach does not amount to actionable tort under economic
  loss rule); Multifamily, 629 F. Supp. 2d at 1146 (same). Rather, Defendants allegedly “sought to
  frustrate [Plaintiffs’] enjoyment of contracted-for benefits” and then made additional
  misrepresentations about those efforts. Erlich, 21 Cal. 4th at 553. Such conduct is distinct from
  the efficient breach that the economic loss rule seeks to protect. See Freeman & Mills, 11 Cal.
  4th at 106, 109 (“The efficient breach of contract occurs when the gain to the breaching party
  exceeds the loss to the party suffering the breach, allowing the movement of resources to their
  more optimal use. . . . Breaches accompanied by deception or infliction of intentional harm may
  be so disruptive of commerce and so reprehensible in themselves that the value of deterring such
  actions through the tort system outweighs the marginal loss in the predictability of damages that
  may result.”).

          Moreover, the alleged extra-contractual conduct imposed additional costs on Plaintiffs
  not reasonably within the parties’ contemplation during contract formation, such as out-of-pocket
  expenses to discover Defendants’ wrongful conduct and an over-$14,000 outstanding balance
  allegedly owed to Defendants due to the manufactured expense deductions. SAC at ¶¶ 22, 50,
  52, 92; see Robinson Helicopter, 34 Cal. 4th at 992–93 (fraud lies outside contracting parties’
  reasonably anticipated losses from breach); Erlich, 21 Cal. 4th at 550 (limitations of contract
  damages). Accordingly, Plaintiffs have stated a claim “by which [they] suffered damage
  independent from the nonpayment of royalties” under the 1982 Agreement. Audigier Brand
  Mgmt. v. Perez, No. CV 12-5687-CAS (RZx), 2012 WL 5470888, at *6 (C.D. Cal. Nov. 5,
  2012).

          Defendants contend that Alexsam Inc. v. Green Dot Corp. urges the economic loss rule’s
  application in this case. The Court disagrees. In Alexsam, the plaintiff brought suit against
  defendants in connection with their alleged breach of a settlement agreement involving a patent
  dispute. No. 2:15-cv-5742-CAS (PLAx), 2017 WL 2468769, at *2 (C.D. Cal. June 5, 2017).
  Plaintiff argued that defendants failed to pay royalties under the settlement agreement and falsely
  represented their belief that they did not owe such royalties. Id. at *2–3. The Alexsam plaintiff
  raised causes of action for breach of contract, accounting, and intentional misrepresentation. Id.
  at *1.

          Defendants’ reliance on Alexsam is misplaced. Notably, the District Court asserted that,
  according to Robinson Helicopter, the economic loss rule “applies ‘even when the breach is
  accomplished in a fraudulent manner.’” Alexsam, 2017 WL 2468769, at *4 (quoting Robinson
  Helicopter, 34 Cal. 4th at 995). Yet, that language appears in the Robinson Helicopter decision’s
  dissent, where Justice Werdegar stated,

             Until today, we have rejected the notion that [a bad faith breach of contract, a
          breach of contract by fraudulent means, or a bad faith denial of breach] could give

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          rise to punitive damages. . . . The law eschews inquiry into a breaching party’s
          motives; whether acting in good faith or bad faith, a party that breaches a
          commercial contract must pay only contract damages. . . . even when the breach is
          accomplished in a fraudulent manner.

  34 Cal. 4th at 995 (Werdegar, J., dissenting) (emphasis added) (citations omitted).

          More importantly, the Alexsam complaint suffered additional deficiencies not present
  here. For example, the plaintiff failed to allege how defendants’ supposed fraudulent conduct
  caused the purported injuries. Alexsam, 2017 WL 2468769, at *5. Additionally, the operative
  pleading and exhibits contained readily distinguishable allegations. In Alexsam, defendants
  represented that it “did not believe it owed any royalties because its products were not covered
  by the [relevant] patents,” requested that plaintiff provide a “more specific” explanation of why
  defendants’ use of the product was “relevant to the question of royalties,” and offered to consider
  plaintiff’s position “in good faith” but otherwise did not “see a basis to believe that royalties are
  owed.” Id.at *2–3 (quoting the record). From these statements, the District Court concluded that
  “[defendants’] contention that it owed no royalties under the [settlement agreement] was always
  implicit in its decision not to pay royalties,” and “[t]hat [plaintiff] elicited affirmative
  representations about royalties d[id] not convert [its] breach of contract claim into a claim for
  fraud.” Id. at *6.

          The SAC paints a very different story in this case, as explained above. Taking those
  allegations as true, as this Court must at the motion-to-dismiss stage, Plaintiffs have alleged
  Defendants’ breach of a duty not arising from contract, and resulting harm distinct from breach.
  Thus, the economic loss rule does not apply to bar, wholesale, Plaintiffs’ cause of action for
  fraud because of the intentional tort exception.10 See, e.g., Herring Networks, Inc. v. AT&T
  Servs., Inc., No. 2:16-cv-01636-CAS-AGR, 2016 WL 4055636, at *14 (C.D. Cal. July 25 2016)
  (declining to apply economic loss rule where defendants allegedly took affirmative steps to
  reduce benefits owed to plaintiff under the agreement); Bentham v. Bingham Law Group, No.
  13cv1424-MMA (WVGx), 2013 WL 12186171, at *11–12 (S.D. Cal. Nov. 15, 2013) (declining
          10
                UMG joins in Studiocanal’s motion, and thus urges dismissal based on the economic loss rule, despite
  UMG’s contention that it is neither a party to nor bound by the 1982 Agreement. Plaintiffs oppose application of the
  economic loss doctrine in part based on the special relationship exception, arguing that the exception applies even
  when privity of contract exists. That is not the case. See, e.g., Body Jewelz, Inc. v. Valley Forge Ins. Co., 241 F.
  Supp. 3d 1084, 1092–93 (C.D. Cal. 2017) (exception applies when parties are not in contractual privity).
  Studiocanal’s arguments against the special relationship exception’s operation here mostly advance this proposition.
  Moreover, the Studiocanal MTD papers do not argue the exception’s operation as to UMG, and absent briefing on
  the subject from UMG, the Court will not address the exception. Notably, because of the intentional tort exception,
  the Court need not consider the alternative exception Plaintiffs advance to avoid application of the economic loss
  rule at this time.


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  to apply economic loss rule where defendant allegedly breached agreement by tortious means,
  including the use of deceit, fraud, and conversion).

          The Court therefore DENIES the Studiocanal MTD under the economic loss rule.

          2.     Sufficiency of the SAC’s Allegations (as Against UMG)

          UMG argues independently that the SAC fails to allege it made fraudulent statements
  directly to Plaintiffs, and that the pleading lacks the requisite particularity with respect to the
  fraud claim.

          The elements for a fraud claim are (1) false representation, (2) knowledge of its falsity,
  (3) intent to defraud, (4) justifiable reliance, and (5) damages. Vess v. Ciba-Geigy Corp. USA,
  317 F.3d 1097, 1105 (9th Cir. 2003). To satisfy Rule 9(b)’s particularity standard, a plaintiff
  must allege particular facts explaining the circumstances of the fraud, such as “the who, what,
  when, where, and how” of the alleged misconduct. Id. at 1106.

          Although Rule 9(b) carries a heightened pleading standard, such standard “is not an
  invitation to disregard[] Rule 8’s requirement of simplicity, directness, and clarity,” and “among
  [the Rule’s] purposes [is] the avoidance of unnecessary discovery.” McHenry v. Renne, 84 F.3d
  1172, 1178 (1996). Moreover, the particularity requirement is meant to “ensure[] that allegations
  of fraud are specific enough to give defendants notice of the particular misconduct which is
  alleged to constitute the fraud charged so that they can defend against the charge and not just
  deny that they have done anything wrong” and to “prevent[] the filing of a complaint as a pretext
  for the discovery of unknown wrongs.” Semegen v. Wediner, 780 F.2d 727, 731 (9th Cir. 1985).

          The SAC pleads sufficient facts about the alleged fraud to put UMG on notice of its
  alleged misconduct. Plaintiffs contend that UMG, in performing its alleged reporting obligations
  in connection with the TIST sound recording rights from 1989 to 2016, engaged in anti-
  competitive and deceptive behavior by “willfully conceal[ing]” revenues and “manipulate[ing]
  years of accountings to retain monies due and owing to Plaintiffs.” SAC at ¶¶ 51, 53, 54.
  Examples of the alleged fraudulent accounting practices include the improper “bundling” and
  “cross-collateralization” of TIST with unsuccessful films to hide profits stemming from pertinent
  TIST rights. See id. at ¶¶ 49–54. According to Plaintiffs, such practices resulted in UMG
  reporting and paying to Studiocanal “a mere $98 . . . in gross receipts from music sales” over the
  27-year period, despite TIST’s widespread acclaim and cultural significance that has extended
  past the early 2000s. Id. at ¶ 54; see id. at ¶¶ 40–41, 51. These allegations provide a factual
  basis for the plausibility of Plaintiffs’ cause of action for fraud.



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          In turn, Studiocanal allegedly provided to Plaintiffs profit participation statements that
  reflected the fabricated reduced earnings conveyed by UMG, and paid them less in royalties than
  actually owed. See id. at ¶¶ 50–51, 87–91. Defendants’ possessed exclusive knowledge of the
  revenues collected—UMG with respect to the TIST soundtrack rights—so Plaintiffs relied on the
  statements and Defendants’ representations regarding their accuracy, and refrained from
  investigating the accounting until 2013 and from shifting control over the assets away from
  Defendants. Id. at ¶¶ 51–53, 87, 91; see also, e.g., OCM Principal Opportunities Fund v. CIBC
  World Markets Corp., 157 Cal. App. 4th 835, 864 (2007) (reliance is justifiable when
  “circumstances were such to make it reasonable for [the] plaintiff to accept [the] defendant’s
  statements without an independent inquiry or investigation,” and such reasonableness “is judged
  by reference to the plaintiff’s knowledge and experience” (alterations in original) (quoting
  Wilhelm v. Pray, Price, Williams & Russell, 186 Cal. App. 3d 1324, 1332 (1986))). As a result,
  Plaintiffs have received less in royalties than they deserve, and Plaintiffs have incurred additional
  out of pocket costs as discussed above. See SAC at ¶¶ 91–92.

           Because UMG allegedly underreported and underpaid music-related earnings to
  Studiocanal, and Studiocanal allegedly underreported and underpaid all TIST earnings to
  Plaintiffs, it is not clear whether the allegations of improper expense deductions and
  undocumented charges are aimed at the Studiocanal Defendants (and their agents or
  representatives) as well as, or instead of, UMG. See, e.g., id. at ¶¶ 51, 54; see also id. at ¶ 21
  (using “Vivendi” to refer to Vivendi, Studiocanal, and UMG collectively). Given Plaintiffs’
  allegations that Vivendi’s subsidiaries, including UMG, worked together to hide profits and
  manipulate revenue, and that Defendants have exclusive knowledge over the accounting process,
  it is plausible that Plaintiffs would not know all minute details of the alleged fraud. E.g., id. at
  ¶¶ 51, 87; see also United States v. United Healthcare Ins. Co., 848 F.3d 1161, 1184 (9th Cir.
  2016) (“There is no flaw in a pleading . . . where collective allegations are used to describe the
  actions of multiple defendants who are alleged to have engaged in precisely the same conduct.”).
  The Court therefore will not dismiss the fraud allegations for lack of specificity due to minor
  ambiguities in the pleading. Plaintiffs have sufficiently alleged a fraudulent scheme that
  involves UMG, and which sufficiently puts Defendants on notice of the import of the allegations
  against them.

         Additionally, it is of no moment that Plaintiffs do not allege direct misrepresentations
  between UMG and Plaintiffs.            California law recognizes as actionable “indirect
  misrepresentation,” by which an alleged tortfeasor makes a misrepresentation to an intermediary
  who, in turn, conveys the information to the injured party. E.g., Mirkin v. Wasserman, 5 Cal. 4th
  1082, 1095–96 (1993) (discussing the principle and collecting cases); Lovejoy v. AT&T Corp., 92
  Cal. App. 4th 85, 94 (2001) (same). The plaintiff must, in turn, “act[] in justifiable reliance
  upon” the misrepresentation. Mirkin, 5 Cal. 4th at 1096 (quoting Restatement (Second) of Torts


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  § 533). Here, Plaintiffs have alleged both UMG’s misrepresentation conveyed to them through
  an intermediary and their justifiable reliance on the communication. See SAC at ¶¶ 51, 91.

          Yet, to maintain a fraud claim under an indirect misrepresentation theory, the plaintiff
  must also allege that the defendant “intend[ed] or [had] reason to expect that [the
  misrepresentation] w[ould] be ‘repeated and acted upon by the plaintiff.’” Lovejoy, 92 Cal. App.
  4th at 94 (quoting Geernaert v. Mitchell, 31 Cal. App. 4th 601, 605 (1995)). The SAC states that
  UMG has an obligation to report to and pay Studiocanal, which in turn reports to and pays
  Plaintiffs. SAC at ¶ 51. The pleading does not allege, however, UMG’s knowledge—actual or
  implied—or reasonable expectation that Studiocanal would convey UMG’s report to Plaintiffs,
  as discussed in Section III.A, supra, in the breach and accounting discussion.

         The Court therefore GRANTS the UMG MTD in connection with the fraud claim.
  Because the UMG MTD moving papers discuss at length UMG’s potential knowledge of
  Studiocanal’s reporting obligations to Plaintiffs, the Court also GRANTS Plaintiffs leave to
  amend this deficiency, if possible.

  C.      Ripeness of Copyright Reversion Claim

          Under section 203 of the Copyright Act, an author of any work, other than a work for
  hire, may terminate the exclusive or nonexclusive grant of a transfer or license of copyright or
  any right thereunder. See 17 U.S.C. § 203(a). Under the facts presented in this case, the
  termination notices, if valid, will be effective beginning March 2, 2019. SAC at ¶ 114; see 17
  U.S.C. § 203(a)(3), (a)(4)(A). Upon the effective date, all rights revert to the authors, but future
  rights vest as of the date that the termination notices were served. See 17 U.S.C. § 203(b)(2).

           UMG argues that Plaintiffs’ claim for declaratory relief concerning copyright reversion is
  not ripe for adjudication. UMG advances two reasons: first, UMG “has not taken a position in
  this litigation or elsewhere concerning its sound recording copyrights,” whereas Studiocanal has
  threatened challenges to Plaintiffs’ termination rights in connection with the TIST movie and
  music composition rights; and second, the effective date of the termination notices is no earlier
  than March 2019. UMG MTD at 22–24.

          To determine whether there is a ripe controversy within this Court’s jurisdiction, the
  Court must decide “whether the facts alleged, under all the circumstances, show that there is a
  substantial controversy, between parties having adverse legal interests, of sufficient immediacy
  and reality to warrant the issuance of a declaratory judgment.” Mintz v. Mark Bartelstein &
  Assocs. Inc., 906 F. Supp. 2d 1017, 1027–28 (C.D. Cal. 2012). Plaintiffs carry the burden of
  establishing the existence of an actual controversy. Id. at 1028. They contend “[t]he notion that
  UMG will take a position different from its corporate parent [with respect to the termination

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  notices’ validity] defies credulity,” and they urge the Court to decide the validity of the notices
  for judicial economy reasons due to Studiocanal’s open challenge to Plaintiffs’ termination
  rights. Opp’n at 28–29 (citing Ray Charles Found. V. Robinson, 795 F.3d 1109, 1117 (9th Cir.
  2015)). The Court concludes that the controversy is ripe.

          UMG relies on Mintz v. Mark Bartelstein & Associates, but that case does not support
  UMG’s position that there is no actual controversy to adjudicate. Notably, Mintz did not involve
  a ripeness question with respect to copyright termination notices. Moreover, the facts are
  otherwise distinguishable. There, the plaintiff sought a declaratory judgment invalidating two
  provisions in his employment contract with Defendant: (1) a two-year non-compete cause; and
  (2) a requirement of 14 days’ written notice of termination. Mintz, 906 F. Supp. 2d at 1027.

          The District Court found that plaintiff lacked standing to seek declaratory relief in
  connection with both provisions. Id. at 1027–28. With respect to the non-compete clause, the
  defendant’s unequivocal concession that it did not want, and would not attempt, to enforce the
  provision at any point “now or in the future” precluded plaintiff from demonstrating the
  existence of a controversy with “sufficient immediacy and reality” to warrant a declaratory
  judgment. Id. at 1028. As for the notice provision, the Court found that the plaintiff
  “misconstrued” defendant’s position in its motion papers to “conjure an actual controversy,” and
  that the parties’ positions “[were] not in fact opposed.” Id. Such a manufactured controversy did
  not satisfy the plaintiff’s burden to show an actual controversy.

          In this case, UMG has not taken a stance similar to that of the defendant in Mintz. UMG
  has not conceded that Plaintiffs’ termination notices are valid, nor has it made clear to either
  Plaintiffs or this Court that it has “no intention now or in the future” of challenging the
  termination notices. Rather, UMG asserts that it has yet to take a position on the validity of the
  termination notices. Such an evasive stance is insufficient for the Court to find a lack of actual
  controversy with sufficient immediacy and reality to warrant the issuance of a declaratory
  judgment.

          Moreover, the actual controversy between Plaintiffs and Studiocanal supports the request
  for declaratory judgment as to the termination notices served on UMG. Plaintiffs rely on
  royalties from the TIST copyright grants, which Defendants have failed to exploit in Plaintiffs’
  best interests. As a result, Plaintiffs suffer from reduced royalties. Plaintiffs seek to terminate
  the grants, and the terminations, if valid, would allow Plaintiffs to shift control of the copyrights
  away from Defendants, redressing that injury. According to the SAC, Studiocanal challenges the
  termination notices on the ground that the TIST related works are works for hire not subject to
  termination, which Plaintiffs heavily dispute, and Studiocanal contends that the termination
  notices have placed a cloud over Studiocanal’s interests in the works. SAC at ¶¶ 3–4, 115–16.
  A determination of the nature of Plaintiffs’ authorship does not require this Court “to engage in

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  abstract inquiries about speculative injuries.” See, e.g., Ray Charles Found. v. Robinson, 795
  F.3d 1109, 1117 (9th Cir. 2015).

          Similarly, although Studiocanal’s interests in the TIST film, distribution, and musical
  composition rights are distinct from UMG’s interests in the TIST sound recording rights,
  Studiocanal has directly challenged Plaintiffs’ terminations, and UMG has not taken a position to
  moot the dispute. Further, it would be inefficient for the Court to analyze the nature of
  Plaintiffs’ authorship of TIST-related works for the sole purpose of adjudicating the validity of
  the notices related to Studiocanal’s copyrights, but to compel Plaintiffs to file another lawsuit
  with respect to UMG’s copyrights. Moreover, “[t]he fact that a document,” such as a termination
  notice, “has been recorded is not a determination by the U.S. Copyright Office concerning the
  validity or the effect of that document. That determination can only be made by a court of law.”
  Id. at 1117 (quoting Compendium of Copyright Office Practices III § 2305 (2014)).

          Here, there is a ripe controversy over the validity of Plaintiffs’ termination notices. See
  Wolfson v. Brammer, 616 F.3d 1045, 1057 (9th Cir.2010) (“The ripeness doctrine is peculiarly a
  question of timing, designed to separate matters that are premature for review because the injury
  is speculative and may never occur from those cases that are appropriate for federal court
  action.”). The Court thus DENIES the UMG MTD’s ripeness challenge.

                                              IV.
                                          CONCLUSION

          In light of the foregoing, Defendants’ MTD is GRANTED in part with leave to amend
  and DENIED in part consistent with this Order. Plaintiffs shall file an amended complaint that
  cures the specific deficiencies as to Defendant UMG discussed in this Order, or inform the Court
  and Defendants that they do not intend to amend, within 21 days from the date of this Order.
  Defendants shall file their response within 21 days after the filing and service of the amended
  complaint or notification that no amended complaint will be filed.

  IT IS SO ORDERED.




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